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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF MICHIGAN
                                NORTHERN DIVISION
                                      ______

DOUGLAS CORNELL JACKSON,

                     Plaintiff,                     Case No. 2:20-cv-38

v.                                                  Honorable Paul L. Maloney

KRIS TASKILA et al.,

                     Defendants.
____________________________/

                                         JUDGMENT

              In accordance with the order issued this date:

              IT IS ORDERED that Plaintiff’s action is DISMISSED WITHOUT

PREJUDICE for lack of prosecution and failure to comply with the Court’s order.



Dated:    May 7, 2020                               /s/ Paul L. Maloney
                                                    Paul L. Maloney
                                                    United States District Judge
